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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7       KRISTIN M. PERRY, et al.,                        Case No. 09-cv-02292-WHO
                                                         Plaintiffs,
                                   8
                                                                                            ORDER DENYING MOTION TO
                                                  v.                                        MAINTAIN SEAL; UNSEALING
                                   9
                                                                                            TRIAL RECORDINGS
                                  10       ARNOLD SCHWARZENEGGER, et al.,
                                                                                            Re: Dkt. Nos. 892, 899
                                                         Defendants.
                                  11

                                  12           On January 17, 2018, I issued an Order on Media Intervenor KQED, Inc.’s motion to
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                                  13   unseal the recordings of the bench trial conducted by former Chief Judge Vaughn Walker in 2010

                                  14   determining that California’s Proposition 8 – colloquially known as the ban on gay marriage – was

                                  15   unconstitutional. January 2018 Order [Dkt. No. 878].1 I concluded that the “common-law right of

                                  16   access applies to the video recordings as records of judicial proceedings to which a strong right of

                                  17   public access attaches. . . .” January 2018 Order at 10. In opposition to the motion, Proponents2

                                  18   did not submit evidence that they or their counsel personally feared harm from the recordings’

                                  19   release. But I concluded that the “compelling justification of judicial integrity” outweighed the

                                  20   public’s right of access at that juncture.

                                  21           My concern regarding judicial integrity was based on Judge Walker’s unequivocal

                                  22   commitments to the trial participants that he intended the recordings solely for his own use in

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                                  24    The judicial decisions and reasons that led to the bench trial proceedings being recorded but not
                                       broadcast, and the numerous appeals of those decisions to the Ninth Circuit and the Supreme
                                  25   Court, are detailed in my January 2018 Order and will not be repeated here.

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                                         The Proponents who opposed KQED’s motion to unseal and who are the movants on the current
                                       motion are defendant-intervenors in the underlying action: Dennis Hollingsworth, Gail J. Knight,
                                  27   Martin F. Gutierrez, and Mark A. Jansson. KQED’s motion to unseal was joined by plaintiffs in
                                       the action, plaintiff-intervenor City and County of San Francisco (CCSF), and amicus American
                                  28   Civil Liberties Union of Northern California (ACLU). Defendant State of California did not join
                                       but did not oppose KQED’s motion to unseal.
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                                   1   drafting his opinion and the judgment in that case. But I did not find that his statements meant

                                   2   that the recordings should be permanently sealed. Instead, given the guidance in Perry v. Brown,

                                   3   667 F.3d 1078, 1082 (9th Cir. 2012), the prior Ninth Circuit opinion on this subject, I concluded

                                   4   that Northern District Civil Local Rule 79-5(g) and its ten year default for sealing court records set

                                   5   the reasonable limit for sealing the trial recordings, and that on August 12, 2020 the trial

                                   6   recordings would be released unless Proponents offered evidence justifying a continued seal.

                                   7   January 2018 Order at 10-11, 13-15.3

                                   8             I directed that if the Proponents wanted to maintain the seal on the trial recordings past

                                   9   August 12, 2020, they had to file a motion to continue the seal by April 1, 2020 and set a briefing

                                  10   schedule and hearing date. January 2018 Order at 15.4 They did. Plaintiffs,5 CCSF, media

                                  11   intervenor KQED,6 and amicus the ACLU opposed. Dkt. Nos. 895 896, 897, 898. The State of

                                  12   California also opposes the motion to maintain the seal, and now actively contends that the
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                                  13   recordings should be unsealed. Dkt. No. 894. In addition, the Reporters Committee for Freedom

                                  14   of the Press (RCFP) filed a request for leave to file an amicus brief on behalf of itself and 36

                                  15   media entities and journalism organizations in support of KQED and unsealing the recordings.

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                                  18       At the time of the trial, the ten year default was contained in Civil Local Rule 79-5(f).
                                       4
                                  19     The Proponents appealed my January 2018 Order. Dkt. No. 880. On April 19, 2019, in a
                                       Memorandum Disposition, the Ninth Circuit dismissed the appeal concluding it lacked jurisdiction
                                  20   because my January 2018 Order was not a final decision or a reviewable collateral order. Dkt. No.
                                       888.
                                  21   5
                                        Fifteen of plaintiffs’ trial witnesses, including the plaintiffs and expert witnesses, submit
                                  22   declarations supporting the release of the trial recordings. The witnesses generally describe their
                                       beliefs that release of the trial recordings would serve significant historical purposes (as a
                                  23   watershed moment in the fight for LGBTQ rights), educative functions (allowing the public to
                                       observe leading experts discussing relevant theory and research), and show the emotional impact
                                  24   of the trial testimony that they contend is not captured by the written transcript of the proceedings.
                                       See Dkt. No. 895, Exhibits B-P.
                                  25   6
                                         KQED submits declarations from Dean Erwin Chemerinsky (Berkeley Law), Professor Suzanne
                                  26   Goldberg (Columbia Law School), Seth Levy (President and Chairman of the Board of Directors
                                       for the It Gets Better Project), McKenna Palmer (LGBTQ supporter and activist), Michael
                                  27   Sabatino (marriage equality advocate), and Scott Shafter (Senior Editor, California Politics &
                                       Government at KQED) supporting the release of the trial recordings from their journalistic, legal,
                                  28   historical, and activist perspectives. See Dkt. Nos. 898-3 – 898-8.

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                                   1   Dkt. No. 899.7

                                   2          In support of their motion to continue the seal past the ten year default sealing date,

                                   3   Proponents rely solely on the “judicial integrity” argument they raised before. They assert that

                                   4   Judge Walker promised them that he would use the recordings solely for his personal use in

                                   5   drafting the opinion and judgment following the bench trial. Given those assurances, they did not

                                   6   continue to object to the recordings and did not try to convince Judge Walker to stop recording or

                                   7   to seek the assistance of a higher court to force Judge Walker to stop recording. The Proponents

                                   8   contend that the recordings should never be unsealed because of the need to maintain Judge

                                   9   Walker’s “promise” as a compelling matter of judicial integrity.

                                  10          Significantly, the Proponents again failed to submit any evidence by declaration that any

                                  11   Proponent or witness who testified on behalf of the Proponents wants the trial recordings to

                                  12   remain under seal. There is no evidence that any Proponent or trial witness fears retaliation or
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                                  13   harassment if the recordings are released. Nor is there any evidence that any Proponent or trial

                                  14   witness on behalf of the Proponents believed at the time or believes now that Judge Walker’s

                                  15   commitment to personal use of the recordings meant that the trial recordings would remain under

                                  16   seal forever.

                                  17          There is attorney argument that the Proponents relied on Judge Walker’s commitments

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                                  20     The amici represented by the Reporters Committee of Freedom of the Press (RCFP) are The
                                       Associated Press, Berkeleyside Inc., Boston Globe Media Partners, LLC, BuzzFeed, Cable News
                                  21   Network, Inc., California News Publishers Association, Californians Aware, CalMatters, Dow
                                       Jones & Company, Inc., The E.W. Scripps Company, Embarcadero Media, First Amendment
                                  22   Coalition, First Look Media Works, Inc., Fox Television Stations, LLC, Gannett Co., Inc., Hearst
                                       Corporation, Inter American Press Association, International Documentary Association,
                                  23   Investigative Reporting Workshop at American University, Los Angeles Times Communications
                                       LLC, The Media Institute, Mother Jones, MPA – The Association of Magazine Media, National
                                  24   Press Photographers Association, The New York Times Company, The News Leaders
                                       Association, Online News Association, POLITICO LLC, Radio Television Digital News
                                  25   Association, Reveal from The Center for Investigative Reporting, Sinclair Broadcast Group, Inc.,
                                       Society of Environmental Journalists, Society of Professional Journalists, TEGNA Inc., Tully
                                  26   Center for Free Speech, and Univision Communications Inc. The amici’s motion for leave to file
                                       their brief is GRANTED. Dkt. No. 899. The RCFP, on behalf of the other amici, argues generally
                                  27   that release of the recordings would serve “the interests advanced by the common law and First
                                       Amendment rights of access to judicial documents” by providing a contemporaneous view of how
                                  28   the trial progressed and would “enhance the completeness of news reports about the trial.” Dkt.
                                       No. 899-2 at 7-15.
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                                   1   regarding recording the trial proceedings to conclude that the records would never be released.8

                                   2   But that is a different position than they took during oral argument at the Ninth Circuit in 2011.

                                   3   Then, Proponents’ counsel acknowledged both Proponents’ knowledge of Civil Local Rule 79-

                                   4   5(g) and that they would bear the burden of having to demonstrate reasons to continue the seal

                                   5   beyond ten years.9 Proponents now argue that their counsel’s concessions in the Ninth Circuit

                                   6   cannot bind them as a judicial admission. Reply (Dkt. No. 900) at 4. Perhaps. But those

                                   7   concessions are a significant indication that even Proponents’ counsel contemporaneously

                                   8   understood that sealing is typically limited in time and that it was not reasonable to rely solely on

                                   9   Judge Walker’s statements to insist that sealing be permanent.

                                  10           In my prior Order, I rejected the idea that Proponents’ “judicial integrity” argument,

                                  11   defined as it is by the unique procedural and historical facts that led to the recordings’ existence,

                                  12   could be a compelling justification requiring indefinite sealing of the trial recordings. Having
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                                  13   found that the common law right of access requires release of the trial recordings absent some

                                  14   other evidence that could theoretically provide a compelling justification, and finding absolutely

                                  15   none presented on this record, Proponents’ motion to continue the seal on the trial recordings is

                                  16   DENIED. On the undisputed record before me, there is no justification, much less a compelling

                                  17   one, to keep the trial recordings under seal any longer. The recordings shall become public on

                                  18   August 12, 2020.10

                                  19           The Proponents ask me to stay the release of the recordings until either their appeal of the

                                  20   unsealing order is resolved by the Ninth Circuit (and perhaps the Supreme Court) or at least until

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                                         Indeed, plaintiffs asked Proponents’ counsel for permission to contact three of the Proponents’
                                  23   trial witnesses to ask them if they had any concerns about unsealing the trial recordings.
                                       Declaration of Christopher D. Dusseault, ¶ 2. Dkt. No. 895-1. Proponents’ counsel declined that
                                  24   permission, informing plaintiffs’ counsel that he “polled a critical mass of our clients and
                                       witnesses” and none of them supported unsealing. Id. ¶ 3.
                                  25   9
                                        See Oral Argument at 7:04–7:48, Perry v. Brown, 667 F.3d 1078, 1082 (9th Cir. 2012) (No. 11-
                                  26   17255), https://bit.ly/35toPvJ.
                                       10
                                  27     On the prior motion and again here, the sides disagree when the Judgment in this case was
                                       entered and, hence, when the default ten years will run. I addressed these arguments in my
                                  28   January 2018 Order and see no reason to deviate from the conclusion that the ten years runs on
                                       August 12, 2020.
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                                   1   movants can seek a stay from the Ninth Circuit. However, I wrote in my January 2018 Order and

                                   2   reiterated at the June 17, 2020 hearing on the current motion that the release of the recordings

                                   3   would occur on August 12, 2020 in light of Proponents’ failure to identify any compelling

                                   4   justification other than the time-limited one of judicial integrity. The Proponents, who appealed

                                   5   the January 2018 Order, are in a position to swiftly to seek a stay of the release from the Ninth

                                   6   Circuit. Absent a stay from the Ninth Circuit, on August 12, 2020, the Clerk’s Office will prepare

                                   7   to release the recordings to the public.11

                                   8           IT IS SO ORDERED.

                                   9   Dated: July 9, 2020

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                                                                                                    William H. Orrick
                                  12                                                                United States District Judge
Northern District of California
 United States District Court




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                                  28     The actual mechanics of the public release of the recordings is still under consideration. A
                                       further Order describing the mechanics of that release will be issued prior to August 12, 2020.
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